                  Case 5:18-cv-00979 Document 1 Filed 02/15/18 Page 1 of 8



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 9
                                       UNITED STATES DISTRICT COURT
10
                                    NORTHERN DISTRICT OF CALIFORNIA
11
                                               SAN JOSE DIVISION
12
     UNITED STATES OF AMERICA                                 Case No.
13
         Plaintiff,                                           COMPLAINT FOR PERMANENT
14                                                            INJUCNTION
15                     v.

16 HOFFMAN’S FOOD MANAGEMENT, LLC
   and ADAM HOFFMAN,
17
       Defendants.
18

19

20          COMES NOW the United States of America, by and through its undersigned counsel, and
21 complains and alleges as follows:

22                                        PRELIMINARY STATEMENT
23          1.        This is a civil action brought by the United States of America to permanently enjoin
24 defendants Hoffman’s Food Management, LLC, (“HFM”) dba Hoffman’s Downtown, Hoffman’s

25 Bistro, Hoffman’s Bakery Café, Hoffman’s Bistro & Patisserie, and Hoffman’s Santa Cruz and Adam

26 Hoffman, and any other party working in concert with them, from

27          (a) failing to withhold federal taxes from employee wages;
28          (b) failing to file timely quarterly federal employment tax returns (Form 941), annual federal
                   Case 5:18-cv-00979 Document 1 Filed 02/15/18 Page 2 of 8



 1   unemployment tax returns (Form 940), and annual corporate income tax returns (Form 1120) with the

 2 Internal Revenue Service ("IRS);

 3           (c) failure to timely make federal employment and federal income tax withholding deposits to a

 4 federal depository bank;

 5           (d) failure to timely make federal employment and unemployment tax payments to the IRS;

 6           (e) assigning any property or making any disbursements to, or for the benefit of, Adam Hoffman

 7 or his relatives Edward Hoffman and June Hoffman until all required taxes that accrue after the

 8 injunction date are paid to the U.S. Treasury;

 9           (f) failing to notify the IRS of HFM’s future employment tax conduct; and

10           (g) failing to provide proof to the IRS of Defendants’ compliance with the injunction.

11           2.      While HMF has made payments to Adam Hoffman and his relatives June Hoffman and

12 Edward Hoffman, HMF has for a number of years failed to keep current with various outstanding

13 federal tax obligations, including failing to payover to the IRS withheld federal taxes from employee

14 wages, failing to timely file corporate income tax returns, failing to make timely federal employment tax

15 deposits and continually failing to timely make federal unemployment tax payments to the IRS, as

16 described in further detail below, the balance of which presently exceeds $750,000.

17           3.      A recurring problem for HFM is that it has repeatedly failed to stay current with its

18 federal employment tax withholding deposits, and federal unemployment tax payments, and thus the

19 United States seeks injunctive relief to enjoin Defendants from further failing to comply with its federal

20 tax obligations.

21                                          JURISDICTION AND VENUE

22           4.      This action is brought pursuant to 26 U.S.C. §7401 at the direction of the Attorney

23 General of the United States and at the request and with the authorization of the Division Counsel of the

24 Internal Revenue Service, a delegate of the Secretary of the Treasury.

25           5.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1340 and 1345, as well as 26 U.S.C.

26 § 7402(a).

27           6.      Venue is proper in the Northern District of California under 28 U.S.C. § 1391(b) and

28 1396 because HFM is located and conducts business within this judicial district, Adam Hoffman resides

     Complaint For Permanent Injunction                2
                    Case 5:18-cv-00979 Document 1 Filed 02/15/18 Page 3 of 8



 1 within this judicial district, and the events giving rise to this action took place in this district.

 2                                           INTRADISTRICT ASSIGNMENT

 3           7.      A substantial part of the events that gave rise to this action occurred in Santa Cruz,

 4 California, further defendant HFM is domiciled in Santa Cruz, and defendant Adam Hoffman resides in

 5 Santa Cruz, California.

 6                                        IDENTIFICATION OF DEFENDANTS

 7           8.      HFM is a limited liability corporation with its principal place of business in Santa Cruz,

 8 California.

 9           9.      Adam Hoffman, who resides in Santa Cruz, California, is the owner and managing

10 member of HFM.

11                DEFENDANTS’ OBLIGATIONS UNDER THE INTERNAL REVENUE CODE

12           10.     Pursuant to 26 U.S.C. §§3102 and 3402, employers are required to withhold federal

13 income taxes and Federal Insurance Contributions Act ("FICA") taxes from their employees as and

14 when wages are paid. Under 26 U.S.C. §7501, employers are to hold these withheld taxes in trust for the

15 United States.

16           11.     Pursuant to 26 U.S.C §6302 and Treasury Regulations (26 C.F.R.) promulgated

17 thereunder, employers are generally required to deposit with an authorized government depository the

18 withheld income taxes and FICA taxes either monthly or semi- weekly.

19           12.     Pursuant to 26 U.S.C. §§3111 and 3301, employers are required to pay their own FICA

20 and Federal Unemployment Tax Act ("FUTA") taxes.

21           13.     Pursuant to 26 U.S.C. §§6011 and 6071 and 26 C.F.R. §31.6071(a)-1, employers are

22 required to file (a) Employers' Quarterly Federal Tax Returns ("Form 941") quarterly to report the

23 income and FICA taxes withheld from their employees' wages and their own FICA taxes and (b)

24 Employer's Annual Federal Unemployment Tax Returns ("Form 940") annually to report their FUTA

25 taxes.

26           14.     Pursuant to 26 U.S.C. § 6151 and 26 C.F.R. § 55.6151-1, employers are required to pay

27 any taxes due on their Form 941and Form 940 without assessment or notice, or demand from the IRS,

28 and to pay them no later than the time they are required to file the tax returns.

     Complaint For Permanent Injunction                  3
                   Case 5:18-cv-00979 Document 1 Filed 02/15/18 Page 4 of 8



 1                                          DEFENDANTS' CONDUCT

 2           15.     During the periods described below, HFM employed individuals in the Santa Cruz area.

 3 Each of HFM’s employees receive the benefit and credit of federal income tax withholding when they

 4 file their individual income tax returns and credit for having paid FICA taxes (Social Security and

 5 Medicare), even though HFM has failed to deposit hundreds of thousands of dollars of required

 6 withholding to the United States, as detailed below in paragraph eighteen (18).

 7           16.     The IRS has attempted to collect from defendant HFM delinquent employment and

 8 unemployment taxes. Despite the IRS efforts, defendant HFM has failed or refused to pay, in whole and

 9 in part, employment and unemployment taxes, including Form 941 taxes and Form 940 taxes.
10           17.     As part of its collection efforts, in 2014 the IRS advised Adam Hoffman and his power of

11 attorney of his obligation to make federal tax deposits, pay federal taxes, and file timely tax returns. On

12 March 31, 2017, the IRS mailed Letter 903 and Notice 931 to defendant Adam Hoffman. The Letter

13 903 and Notice 931 notice taxpayers of their obligations to make federal tax payments and file timely

14 tax returns, including Form 941 and Form 940. Adam Hoffman confirmed he received the Letter and

15 Notice and understood the requirements to file employment tax returns and make current tax deposits.

16           18.     Because HFM failed to pay its Forms 941 and Forms 940 taxes, a duly authorized

17 delegate of the Secretary of the Treasury made assessments against HFM pursuant to 26 U.S.C.

18 §6020(b) for FICA taxes, FUTA taxes, penalties, interest and other statutory additions for the time

19 periods listed below. The total tax liability due and owing on these liabilities as of July 22, 2017, is

20 $757,190.04.

21 Tax Period        Type of Tax Unpaid Assessed           Accrued Penalties and
   Ending                        Balance as of             Interest as of 7/22/2017      Total
22                               7/22/2017
23 06/30/2012        FICA             $12,713.12           $   322.98                    $13,036.70
24 12/31/2012        FICA             $12,638.00           $   321.06                    $12,959.06
25 06/30/2013        FICA             $ 1,425.95           $   191.01                    $ 1,616.96
26 09/30/2013        FICA             $47,394.86           $15,511.92                    $62,906.78
27 12/31/2013        FICA             $55,269.35           $17,951.94                    $73,221.29
28

     Complaint For Permanent Injunction                4
                   Case 5:18-cv-00979 Document 1 Filed 02/15/18 Page 5 of 8



 1 Tax Period        Type of Tax Unpaid Assessed          Accrued Penalties and
   Ending                        Balance as of            Interest as of 7/22/2017      Total
 2                               7/22/2017
 3 03/31/2014        FICA             $43,663.91          $13,844.61                    $57,508.52
 4 06/30/2014        FICA             $33,095.10          $10,121.48                    $43,216.58
 5 09/30/2014        FICA             $46,990.30          $ 1,663.93                    $48,654.23
 6 12/31/2014        FICA             $44,126.98          $ 2,380.18                    $46,507.16
 7 06/30/2015        FICA             $65,664.94          $ 5,015.29                    $70,680.23
 8 09/30/2015        FICA             $50,705.66          $10,006.98                    $60,712.64
 9 12/31/2015        FICA             $43,242.20          $ 7,031.99                    $50,274.19
10 03/31/2016        FICA             $37,470.10          $ 4,924.58                    $42,394.68
11 06/30/2016        FICA             $25,491.26          $ 2,404.65                    $27,895.91
12 09/30/2016        FICA             $36,730.19          $ 2,073.54                    $38,803.73
13 12/31/2016        FICA             $27,718.01          $   670.33                    $28,388.34
14 12/31/2013        FUTU             $15,135.48          $ 4,105.37                    $19,240.85
15 12/31/2014        FUTU             $34,407.55          $ 2,678.05                    $37,085.60
16 12/31/2015        FUTU             $12,028.42          $ 1,810.75                    $13,839.17
17 12/31/2016        FUTU             $ 8,149.45          $    97.97                    $ 8,247.42
18             DEFENDANTS SHOULD BE ENJOINED FROM INTERFERING WITH THE
                    ADMINISTRATION OF THE INTERNAL REVENUE LAWS
19

20           19.     The United States incorporates by reference the allegations contained in paragraphs 1

21 through 18, above, as if fully set forth herein.

22           20.     This action is brought under Section 7402(a) of the Internal Revenue Code, 26 U.S.C.,

23 which authorizes a district court of the United States to issue injunctions "as may be necessary or

24 appropriate for the enforcement of the internal revenue laws," even when the United States has other

25 remedies available for enforcement of those laws. The injunction remedy is in addition to and not

26 exclusive of other remedies available to the United States.

27           21.     Suits for injunctions are appropriate against employers and their responsible officers who

28 have a history of pyramiding federal trust fund taxes and who continue to do so despite the Service's

     Complaint For Permanent Injunction               5
                   Case 5:18-cv-00979 Document 1 Filed 02/15/18 Page 6 of 8



 1 enforcement efforts. See United States v. Chul Goo Park, et al., 2016 U.S. Dist. LEXIS 102902 (N. D.

 2 Cal., July 8, 2016) (Davila, J.); Fifty Below Sales & Marketing, Inc. v. United States, 2006-1 USTC ¶

 3 50,345, 2007 WL 1228890 (D. Minn. May 5, 2006), permanent injunction granted, 2007-2 USTC ¶

 4 50,793, 2007 WL 3313146 (D. Minn. Nov. 5, 2007); United States v. Molen, 93 A.F.T.R. 2d 2004-301,

 5 2003 WL 2319060 (E.D. Cal. Dec. 12, 2003); Thompson v. United States, 93 A.F.T.R. 2d 2004-715,

 6 2003 WL 23309468 (E.D. Cal. 2003); United States v. Lopez, 88 A.F.T.R. 2d 2001-5131, 2001 WL

 7 846497 (S.D. Cal. 2001).

 8           22.     HFM is substantially interfering with, and continues to substantially interfere with, the

 9 internal revenue laws by (a) continually failing to pay HFM’s employment tax obligations required by
10 I.R.C. §§ 3102, 3111, and 3402, (b) failing to make HFM’s employment tax deposits as required by

11 I.R.C. § 6302 and 26 C.F.R. §§ 31.6302-1, 31.6302(c)-1 and 31.6302(c)-3, and (c) failing to timely pay

12 HFM’s unemployment taxes as required by I.R.C. § 3301 and 26 C.F.R. § 31.3301-1 (d) failing to file

13 HFM’s corporate income tax returns as required by I.R.C. § 6012(a)(2) and 26 C.F.R. § 1-6012-2. An

14 injunction is appropriate and necessary to prevent continued violations.

15           23.     The United States lacks an adequate legal remedy to prevent additional pyramiding and

16 will suffer irreparable harm as a result of a continued pattern of non-compliance with the internal

17 revenue laws. To date, the IRS has been unable to collect the outstanding liabilities from defendants

18 HFM and Adam Hoffman, HFM’s owner and managing member.

19           24.     The harm suffered by the United States as a result of continuing pyramiding outweighs

20 any harm to HFM by forcing it to pay its employment tax obligations and to secure its future compliance

21 with its employment tax obligations.

22           25.     An injunction in this case would serve the public interest. The efficacy of the federal tax

23 system relies on employers to collect and remit income and FICA taxes paid by its employees and

24 FUTA taxes, and HFM's pyramiding undermines this vital cog in our tax collection system.

25 Additionally, by using the tax money for its own business and operating expenses, HFM receives an

26 involuntary subsidy from United States taxpayers, and an unfair competitive advantage over its

27 competitors who comply with the tax laws.

28           26.     In the absence of an injunction backed by the Court's contempt powers, HFM is likely to

     Complaint For Permanent Injunction                6
                   Case 5:18-cv-00979 Document 1 Filed 02/15/18 Page 7 of 8



 1 continue to obstruct and interfere with the enforcement of the internal revenue laws by pyramiding its

 2 taxes to the detriment of the United States.

 3           WHEREFORE, plaintiff the United States of America, respectfully requests the Court:

 4           A.      Find that Defendants have engaged, and continue to engage, in conduct interfering with

 5 the enforcement of the internal revenue laws,

 6           B.       Find that injunctive relief under I.R.C. § 7402(a) and the Court’s inherent equity powers

 7 is appropriate to stop the conduct described herein by Defendants;

 8           C.      Enter a permanent injunction pursuant to I.R.C. § 7402:

 9                   1.      Prohibiting Defendants, individually and doing business under any other name or
                             using any other non-HFM entity, and their representatives, partners, agents,
10                           servants, employees, attorneys, and anyone in active concert or participation with
                             them, from failing to pay over to the IRS all corporate income taxes, and all
11
                             employment taxes, including federal income tax withholding, FICA taxes, and
12                           FUTA taxes required by law;

13                   2.      Requiring HFM to timely file all corporate, unemployment, and employment tax
                             returns with the IRS, or at such other location as the IRS may deem appropriate;
14
                     3.      Requiring HFM to deposit withheld federal income taxes and FICA taxes, as well
15
                             as HFM’s share of FICA taxes, in an appropriate federal depository bank in
16                           accordance with the federal deposit regulations;

17                   4.      Requiring HFM, and those individuals at HFM responsible for carrying out the
                             duties established under paragraphs (2) and (3), for a period of five years, to sign
18                           and deliver affidavits to the Revenue Officer, or such other location as the IRS
                             may deem appropriate, on the 1st day of each month, stating that the requisite
19
                             withheld income, and FICA tax deposits were timely made;
20
                     5.      Requiring HFM to timely pay all required outstanding liabilities due on each
21                           return required to be filed herein;
22                   6.      Prohibiting HFM and Adam Hoffman from assigning any HFM property or
23                           making any disbursements to, or for the benefit of, defendant Adam Hoffman, or
                             his relatives, Edward Hoffman and June Hoffman, who are also HFM employees,
24                           until amounts required to be withheld from wages after the date of this injunction
                             for a given payroll period are, in fact, paid to the IRS, for a period of five years;
25
                     7.      Prohibiting HFM, Adam Hoffman, and their representatives, agents, servants,
26                           employees, attorneys, successors in interest and assigns, and anyone in active
27                           concert or participation with them, for a period of five years, in the event all
                             required outstanding liabilities due on each employment tax return required to be
28                           filed going forward from the date of the injunction are not timely paid, from

     Complaint For Permanent Injunction                 7
                   Case 5:18-cv-00979 Document 1 Filed 02/15/18 Page 8 of 8



 1                           assigning any of HFM’s property or rights to property or making any
                             disbursements from HFM’s assets before paying the delinquent federal
 2                           employment taxes and federal income tax withholding due for a given payroll
                             period; and
 3

 4                   8.      Require Defendants to deliver to all of HFM’s current employees, current board
                             members, and any former employees employed at any time since January 1, 2017,
 5                           a copy of the Court’s findings and permanent injunction;

 6                   9.      Require Defendants to post and keep posted for five years in one or more
                             conspicuous place on the HFM business premises where notices to employees are
 7
                             customarily posted, a copy of this Court’s findings and permanent injunction;
 8
                     10.     Require for a period of five years that Defendants notify the IRS within ten (10)
 9                           days of any new corporation or company Adam Hoffman, may come to own,
                             manage, or work for as an officer or employee; and
10
                     11.     Require for a period of five years that Defendants notify the IRS within ten (10)
11
                             days if HFM assumes a new name or transfers its employees or business
12                           operations to another entity;

13
             D.      Retain jurisdiction over this case to ensure compliance with this injunction;
14
             E.      Authorize the United States to take post-judgment discovery to ensure compliance with
15
     the requested injunction;
16
             F.      Grant any further relief, including costs that this Court deems just and appropriate.
17
                                                           Respectfully submitted,
18
                                                           ALEX G. TSE
19                                                         Acting United States Attorney

20
                                                           ___________/s/____________________
21                                                         THOMAS MOORE
22                                                         Assistant United States Attorney
                                                           Tax Division
23

24

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     Complaint For Permanent Injunction                8
JS-CAND 44 (Rev. 07/16)              Case 5:18-cv-00979 Document 1-1 Filed 02/15/18 Page 1 of 2
                                                                           CIVIL COVER SHEET
The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference of the United States in September 1974, is required for the Clerk of
Court to initiate the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
      UNITED STATES OF AMERICA                                                                           HOFFMAN'S FOOD MANAGEMENT, LLC and
                                                                                                         ADAM HOFFMAN
   (b)     County of Residence of First Listed Plaintiff        N/A                                        County of Residence of First Listed Defendant           SANTA CRUZ
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.
   (c)    Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)
      Thomas Moore, AUSA, Tel. (415) 436-7017
      U.S. Attorney's Office, NDCA
      450 Golden Gate Ave., Box 36055, San Francisco, CA 94102
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                    (For Diversity Cases Only)                                       and One Box for Defendant)
  1      U.S. Government             3 Federal Question                                                                     PTF       DEF                                          PTF      DEF
         Plaintiff                     (U.S. Government Not a Party)                         Citizen of This State                1         1 Incorporated or Principal Place                4      4
                                                                                                                                              of Business In This State
  2      U.S. Government             4 Diversity                                             Citizen of Another State             2         2 Incorporated and Principal Place               5      5
         Defendant                     (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State
                                                                                             Citizen or Subject of a              3         3 Foreign Nation                                 6      6
                                                                                             Foreign Country
IV. NATURE OF SUIT                 (Place an “X” in One Box Only)
           CONTRACT                                       TORTS                                   FORFEITURE/PENALTY                        BANKRUPTCY                     OTHER STATUTES
  110 Insurance                      PERSONAL INJURY              PERSONAL INJURY                625 Drug Related Seizure             422 Appeal 28 USC § 158             375 False Claims Act
  120 Marine                          310 Airplane               365 Personal Injury –               of Property 21 USC § 881         423 Withdrawal                      376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product           Product Liability           690 Other                                28 USC § 157                        § 3729(a))
  140 Negotiable Instrument                Liability             367 Health Care/                                                                                         400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &           Pharmaceutical                                                     PROPERTY RIGHTS                   410 Antitrust
     Of Veteran’s Benefits               Slander                    Personal Injury                                                   820 Copyrights                      430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’         Product Liability                                                830 Patent                          450 Commerce
  152 Recovery of Defaulted                Liability             368 Asbestos Personal                                                840 Trademark                       460 Deportation
      Student Loans                   340 Marine                     Injury Product                                                                                       470 Racketeer Influenced and
      (Excludes Veterans)             345 Marine Product             Liability                              LABOR                       SOCIAL SECURITY                       Corrupt Organizations
  153 Recovery of Overpayment              Liability            PERSONAL PROPERTY                710 Fair Labor Standards             861 HIA (1395ff)                    480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle          370 Other Fraud                      Act                             862 Black Lung (923)                490 Cable/Sat TV
  160 Stockholders’ Suits             355 Motor Vehicle          371 Truth in Lending            720 Labor/Management                 863 DIWC/DIWW (405(g))              850 Securities/Commodities/
  190 Other Contract                      Product Liability      380 Other Personal                   Relations                       864 SSID Title XVI                      Exchange
  195 Contract Product Liability      360 Other Personal             Property Damage             740 Railway Labor Act                865 RSI (405(g))                    890 Other Statutory Actions
  196 Franchise                           Injury                 385 Property Damage             751 Family and Medical                                                   891 Agricultural Acts
                                      362 Personal Injury -          Product Liability                Leave Act                                                           893 Environmental Matters
                                          Medical Malpractice                                    790 Other Labor Litigation                                               895 Freedom of Information
      REAL PROPERTY                    CIVIL RIGHTS             PRISONER PETITIONS               791 Employee Retirement               FEDERAL TAX SUITS                      Act
  210 Land Condemnation               440 Other Civil Rights     Habeas Corpus:                      Income Security Act              870 Taxes (U.S. Plaintiff           896 Arbitration
  220 Foreclosure                     441 Voting                 463 Alien Detainee                                                       or Defendant)                   899 Administrative Procedure
  230 Rent Lease & Ejectment          442 Employment             510 Motions to Vacate                                                871 IRS–Third Party                     Act/Review or Appeal of
  240 Torts to Land                   443 Housing/                   Sentence                                                             26 USC § 7609                       Agency Decision
  245 Tort Product Liability              Accommodations         530 General                                                                                              950 Constitutionality of
  290 All Other Real Property         445 Amer. w/Disabilities–  535 Death Penalty                    IMMIGRATION                                                             State Statutes
                                          Employment             Other:                          462 Naturalization Application
                                      446 Amer. w/Disabilities–  540 Mandamus & Other            465 Other Immigration
                                          Other                  550 Civil Rights                    Actions
                                      448 Education              555 Prison Condition
                                                                 560 Civil Detainee–
                                                                     Conditions of
                                                                     Confinement
V. ORIGIN (Place an “X” in One Box Only)
      1 Original           2 Removed from                3 Remanded from               4 Reinstated or           5 Transferred from           6 Multidistrict                   8 Multidistrict
        Proceeding           State Court                   Appellate Court               Reopened                  Another District             Litigation–Transfer               Litigation–Direct File
                                                                                                                     (specify)
                                     Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                     26 U.S.C. 7402(a)
VI. CAUSE OF ACTION                  Brief description of cause:
                                     PERMANET INJUNCTION

VII. REQUESTED IN                  CHECK IF THIS IS A CLASS ACTION     DEMAND $                                                               CHECK YES only if demanded in complaint:
       COMPLAINT:                  UNDER RULE 23, Fed. R. Civ. P.                                                                             JURY DEMAND:                       Yes         No
VIII. RELATED CASE(S),
        IF ANY (See instructions):                   JUDGE                                                                            DOCKET NUMBER
IX. DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an “X” in One Box Only)                             SAN FRANCISCO/OAKLAND                                                 SAN JOSE             EUREKA-MCKINLEYVILLE

DATE: 02/14/2018                                                  SIGNATURE OF ATTORNEY OF RECORD: /s/THOMAS MOORE, AUSA


                 Print                             Save As...                                                                                                              Reset
JS-CAND 44 (rev. 07/16)       Case 5:18-cv-00979 Document 1-1 Filed 02/15/18 Page 2 of 2

             INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS-CAND 44

Authority For Civil Cover Sheet. The JS-CAND 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and
service of pleading or other papers as required by law, except as provided by local rules of court. This form, approved in its original form by the Judicial
Conference of the United States in September 1974, is required for the Clerk of Court to initiate the civil docket sheet. Consequently, a civil cover sheet is
submitted to the Clerk of Court for each civil complaint filed. The attorney filing a case should complete the form as follows:
   I. a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
     b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
        time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
        condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)
     c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
        in this section “(see attachment).”

   II.    Jurisdiction. The basis of jurisdiction is set forth under Federal Rule of Civil Procedure 8(a), which requires that jurisdictions be shown in
          pleadings. Place an “X” in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
          (1) United States plaintiff. Jurisdiction based on 28 USC §§ 1345 and 1348. Suits by agencies and officers of the United States are included here.
          (2) United States defendant. When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
          (3) Federal question. This refers to suits under 28 USC § 1331, where jurisdiction arises under the Constitution of the United States, an amendment
              to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code
              takes precedence, and box 1 or 2 should be marked.
          (4) Diversity of citizenship. This refers to suits under 28 USC § 1332, where parties are citizens of different states. When Box 4 is checked, the
              citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
              cases.)
   III.   Residence (citizenship) of Principal Parties. This section of the JS-CAND 44 is to be completed if diversity of citizenship was indicated above.
          Mark this section for each principal party.
   IV.    Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
          sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
          one nature of suit, select the most definitive.
   V.     Origin. Place an “X” in one of the six boxes.
          (1) Original Proceedings. Cases originating in the United States district courts.
          (2) Removed from State Court. Proceedings initiated in state courts may be removed to the district courts under Title 28 USC § 1441. When the
              petition for removal is granted, check this box.
          (3) Remanded from Appellate Court. Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
              date.
          (4) Reinstated or Reopened. Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
          (5) Transferred from Another District. For cases transferred under Title 28 USC § 1404(a). Do not use this for within district transfers or
              multidistrict litigation transfers.
          (6) Multidistrict Litigation Transfer. Check this box when a multidistrict case is transferred into the district under authority of Title 28 USC
              § 1407. When this box is checked, do not check (5) above.
          (8) Multidistrict Litigation Direct File. Check this box when a multidistrict litigation case is filed in the same district as the Master MDL docket.
          Please note that there is no Origin Code 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in statute.
   VI.    Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
          statutes unless diversity. Example: U.S. Civil Statute: 47 USC § 553. Brief Description: Unauthorized reception of cable service.
   VII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Federal Rule of Civil Procedure 23.
          Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
          Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
   VIII. Related Cases. This section of the JS-CAND 44 is used to identify related pending cases, if any. If there are related pending cases, insert the docket
         numbers and the corresponding judge names for such cases.
   IX.    Divisional Assignment. If the Nature of Suit is under Property Rights or Prisoner Petitions or the matter is a Securities Class Action, leave this
          section blank. For all other cases, identify the divisional venue according to Civil Local Rule 3-2: “the county in which a substantial part of the
          events or omissions which give rise to the claim occurred or in which a substantial part of the property that is the subject of the action is situated.”
   Date and Attorney Signature. Date and sign the civil cover sheet.
